              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                 CRIMINAL CASE NO. 1:08-cr-40-MR-1


UNITED STATES OF AMERICA         )
                                 )
              vs.                )              ORDER
                                 )
EDWARD BLAINE MINTZ              )
________________________________ )


      THIS MATTER is before the Court on the Defendant’s pro se “Motion

for Correction of Sentence Pursuant to Fed.R.Crim.P. 35(a).” [Doc. 165].

      Defendant Edward Mintz and four other persons were named in a

Six-Count Indictment filed in this matter on April 1, 2008. [Doc. 1]. Mintz

was named in the first three counts and charged with, respectively, (I)

conspiracy to possess with intent to distribute cocaine base, in violation of

21 U.S.C. §§ 841 and 846; (II) possession with intent to distribute cocaine

base in violation of 21 U.S.C. § 841(a)(1); and (III) possession of a firearm

during and in relation to a drug trafficking crime, in violation of 18 U.S.C. §

924(c)(1). [Id. at 1-2]. On June 25, 2008, Defendant pled guilty to Counts

One and Three, the conspiracy and firearm charges, pursuant to a written

plea agreement. [Docs. 50; 113].       As a part of the plea agreement, the

parties stipulated that “[t]he amount of cocaine base that was known to or



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reasonably foreseeable by the defendant was at least 20 grams but less

than 35 grams.” [Doc. 50 at 2].      This stipulation was consistent with the

actual amount of 25.35 grams of cocaine base obtained by law

enforcement officers directly from the Defendant and from his accomplices

during the investigation of the conspiracy. [Doc. 71, ¶¶ 10-15]. The Court

used this drug quantity figure as its basis for recalculating the Defendant’s

sentence in its 750/780 Order granting the Defendant’s previous pro se

sentence reduction motion. [Doc. 164 at 2].

      In his present Rule 35(a) motion, the Defendant asserts that the

Court’s 750/780 Order [Doc. 164], attributing 25.35 grams of cocaine base

to him as relevant conduct, is clearly erroneous and that he should be held

accountable for only 20.3 grams of cocaine base.          [Doc. 165 at 1-2]. The

lower drug quantity finding, if adopted by the Court, would reduce by two

levels the Defendant’s Guideline Base Offense Level making him eligible

for immediate release from custody. The facts of record in this matter,

however, directly conflict with the Defendant’s assertions, and therefore the

Court concludes that no error occurred in its 750/780 Order, let alone any

clear error.

      Federal   Rule   of     Criminal       Procedure   35(a)     authorizes    the

reconsideration and correction of a sentence under two conditions. First,

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the motion must be filed within fourteen days, and second, a court may only

correct an “arithmetical, technical, or other clear error.” United States v.

Goodwyn, 596 F.3d 233, 235 (4th Cir. 2010). Here, the Defendant

executed and delivered his motion to prison officials on December 8, 2014,

effectively “filing” his motion thirteen days after the entry of the Court’s

Order allegedly containing the clear error. [Doc. 165 at 5]. Thus, the Court

has the authority to consider the motion. As for granting the Defendant’s

motion, a court may reverse only if it is “left with the definite and firm

conviction that a mistake has been committed.” United States v.

Stevenson, 396 F.3d 538, 542 (4th Cir. 2005); see also United States v.

Ward, 171 F.3d 188, 191 (4th Cir. 1999) (holding that Rule 35 permits

correction of a “misperception of the governing law”).

      The Defendant asserts that he should be held accountable only for

the 20.3 grams of cocaine base seized from his home at the time of his

arrest on June 21, 2007, and nothing beyond that date. [Doc. 165 at 2].

This is so, according to the Defendant, because he claims he withdrew

from the conspiracy effective June 26, 2007, when he and his attorney met

with law enforcement officers to begin cooperation efforts. [Doc. 165 at 2].

The   Defendant’s    Presentence    Report,   however,     mentions     nothing

regarding the Defendant cooperating with law enforcement following the

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search of his home and seizure of drugs. The Defendant had the

opportunity to object to erroneous or omitted factual content, and in fact

submitted certain objections to the Probation Office before the issuance of

his final PSR, but never asserted that his PSR reflect that he withdrew from

the conspiracy and began cooperating June 26, 2007. See PSR [Doc. 71

at 25] (explaining Defendant’s asserted and resolved objections). Further,

the Government’s substantial assistance motion explicitly refutes the

Defendant’s contention. It clearly states: “Government’s evaluation: The

defendant cooperated with agents following his indictment and provided

details which furthered the investigation.” [Doc. 86 at 2 (emphasis added)].

Finally, the Defendant’s coconspirators’ debriefing statements, as reflected

in Defendant’s PSR, contradict the Defendant’s stance that he withdrew

from the conspiracy in June, 2007. Randy Mullins stated that after June,

2007, he purchased cocaine from the Defendant on approximately five

occasions. [Doc. 71, ¶ 19]. Similarly, Russell Mosteller stated that he and

Mullins purchased cocaine from the Defendant in July, 2007, following the

Defendant’s arrest. [Doc. 71, ¶ 20].     Given the stark contrast of factual

assertions herein, the Court concludes that no error – and certainly no clear

error – occurred in its previous Order attributing cocaine base quantities to

the Defendant post arrest.

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     IT IS, THEREFORE, ORDERED that the Defendant’s pro se “Motion

for Correction of Sentence Pursuant to Fed.R.Crim.P. 35(a)” [Doc. 165] is

DENIED.

     IT IS SO ORDERED.


                             Signed: December 23, 2014




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